            Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 1 of 20




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


MAEGAN BROOKE COPELAND,
1101 Shoal Creek Blvd. #5,
Austin, TX 78701,

AUSTIN LAYNE COPELAND,
707 Baylor Street #1/2,                      Civil Action No.: 1:21-cv-03381
Austin, TX 78703,

JERRI FAYE EAVES,
6313 Essex Lane,
Plano, TX 75024,

ESTATE OF NICOLAS VITTORIO
LESLIE,
By Conrado Ignacio Leslie, as
Representative,
46-060 Konane Place, Apt. 3616,
Kaneohe, HI 96744,

CONRADO IGNACIO LESLIE,
46-060 Konane Place, Apt. 3616,
Kaneohe, HI 96744,

PAOLA ANNA MARIA LESLIE,
46-060 Konane Place, Apt. 3616,
Kaneohe, HI 96744,

                Plaintiffs,
       v.

SYRIAN ARAB REPUBLIC,
Damascus, SYRIA

                Defendant.


                                         COMPLAINT

       1.      During the Bastille Day celebration on July 14, 2016, in Nice, France, a terrorist

drove a large truck down a crowded street for nearly a mile, intentionally plowing into numerous

pedestrians. The driver then got out of the truck and shot at police officers until he was shot and


                                                1
            Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 2 of 20




killed by the police. As a result of the horrific attack, 86 people were killed and numerous others

were injured.

       2.       Plaintiffs Maegan Brooke Copeland, Austin Layne Copeland, Jerri Faye Eaves,

the Estate of Nicolas Vittorio Leslie, Conrado Ignacio Leslie, and Paola Anna Maria Leslie

(collectively, the “Plaintiffs”) were killed or injured as a result of the July 14, 2016 terrorist

attack in Nice, France (the “Nice Attack”) or are immediate family members of individuals who

were killed or injured as a result of the Nice Attack. Plaintiffs, by and through undersigned

counsel, bring this action against Defendant Syrian Arab Republic (“Defendant” or “Syria”)

seeking money damages for their personal injury and/or wrongful death claims arising out of the

Nice Attack, an act of extrajudicial killing for which the Defendant provided material support

and/or resources. In support of their claims, Plaintiffs allege the following:

                                                 I.

                                 JURISDICTION AND VENUE

       3.       This Court has jurisdiction over the subject matter of this case under 28 U.S.C. §

1330(a). Defendant is subject to suit in the courts of the United States pursuant to the Foreign

Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1602 et seq., and in particular 28 U.S.C. §

1605A (the “Terrorism Exception”), and related statutes.

       4.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(f)(4).

                                                 II.

                                         THE PARTIES

PLAINTIFFS

       5.       Maegan Brooke Copeland was present during the Nice Attack and was an injured

victim in the attack. Maegan Brooke Copeland is the daughter of Sean Copeland and sister of




                                                 2
            Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 3 of 20




Brodie Copeland and Austin Layne Copeland, each of whom also was present during the Nice

Attack. Sean Copeland and Brodie Copeland were killed as a result of the Nice Attack, and

Austin Layne Copeland was injured as a result of the attack. Maegan Brooke Copeland is, and at

all pertinent times was, a United States citizen, and is currently domiciled in Austin, Texas.

Maegan Brooke Copeland was injured by an act of “extrajudicial killing,” as defined in 28

U.S.C. § 1605A(h)(7) and Section 3 of the Torture Victim Protection Act of 1991, 28 U.S.C. §

1350 (“TVPA”), in connection with the Nice Attack. Maegan Brooke Copeland brings claims

for personal injury, pain and suffering, intentional infliction of emotional distress, loss of

solatium, and punitive damages resulting from the acts alleged herein.

       6.      Austin Layne Copeland was present during the Nice Attack and was an injured

victim in the attack. Austin Layne Copeland is the son of Sean Copeland and brother of Brodie

Copeland and Maegan Brooke Copeland, each of whom also was present during the Nice Attack.

Sean Copeland and Brodie Copeland were killed as a result of the Nice Attack, and Maegan

Brooke Copeland was injured as a result of the attack. Austin Layne Copeland is, and at all

pertinent times was, a United States citizen, and is currently domiciled in Austin, Texas. Austin

Layne Copeland was injured by an act of “extrajudicial killing,” as defined in 28 U.S.C. §

1605A(h)(7) and Section 3 of the TVPA, in connection with the Nice Attack. Austin Layne

Copeland brings claims for personal injury, pain and suffering, intentional infliction of emotional

distress, loss of solatium, and punitive damages resulting from the acts alleged herein.

       7.      Jerri Faye Eaves is the mother of Maegan Brooke Copeland and Austin Layne

Copeland. Maegan Brooke Copeland and Austin Layne Copeland were present during the Nice

Attack and were injured as a result of the attack. Jerri Faye Eaves is, and at all pertinent times

was, a United States citizen, and is currently domiciled in Plano, Texas. Jerri Faye Eaves was




                                                 3
            Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 4 of 20




injured by an act of “extrajudicial killing,” as defined in 28 U.S.C. § 1605A(h)(7) and Section 3

of the TVPA, in connection with the Nice Attack which caused injuries to her immediate family

members. Jerri Faye Eaves brings claims for personal injury, pain and suffering, intentional

infliction of emotional distress, loss of solatium, and punitive damages resulting from the acts

alleged herein.

       8.         Nicolas Vittorio Leslie was killed in the Nice Attack. At the time of his death,

Nicolas Vittorio Leslie was a United States citizen domiciled in Del Mar, California. Nicolas

Vittorio Leslie was killed by an act of “extrajudicial killing,” as defined in 28 U.S.C. §

1605A(h)(7) and Section 3 of the TVPA, in connection with the Nice Attack. For purposes of

this lawsuit, the Estate of Nicolas Vittorio Leslie is represented by Nicolas’s father, Conrado

Ignacio Leslie, as Legal Representative. The Estate of Nicolas Vittorio Leslie, through Conrado

Ignacio Leslie as Legal Representative, brings claims for wrongful death, economic damages,

and punitive damages resulting from the acts alleged herein.

       9.         Conrado Ignacio Leslie is the father of Nicolas Vittorio Leslie, who was killed as

a result of the Nice Attack. Conrado Ignacio Leslie was injured by an act of “extrajudicial

killing,” as defined in 28 U.S.C. § 1605A(h)(7) and Section 3 of the TVPA, in connection with

the Nice Attack which killed his immediate family member. Conrado Ignacio Leslie is, and at all

pertinent times was, a United States citizen, and is currently domiciled in Kaneohe, Hawaii.

Conrado Ignacio Leslie brings claims for personal injury, pain and suffering, intentional

infliction of emotional distress, loss of solatium, and punitive damages resulting from the acts

alleged herein, and, as the father of Nicolas Vittorio Leslie, brings claims for wrongful death,

economic damages, and punitive damages resulting from the acts alleged herein.




                                                  4
          Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 5 of 20




       10.        Paola Anna Maria Leslie is the mother of Nicolas Vittorio Leslie, who was killed

as a result of the Nice Attack. Paola Anna Maria Leslie was injured by an act of “extrajudicial

killing,” as defined in 28 U.S.C. § 1605A(h)(7) and Section 3 of the TVPA, in connection with

the Nice Attack which killed her immediate family member. Paola Anna Maria Leslie is, and at

all pertinent times was, a United States citizen, and is currently domiciled in Kaneohe, Hawaii.

Paola Anna Maria Leslie brings claims for personal injury, pain and suffering, intentional

infliction of emotional distress, loss of solatium, and punitive damages resulting from the acts

alleged herein.

DEFENDANT

       11.        Defendant Syrian Arab Republic is a foreign sovereign state.

       12.        Syria is not immune from the jurisdiction of this Court because Plaintiffs are

seeking money damages “for personal injury or death that was caused by an act of . . .

extrajudicial killing . . . or the provision of material support or resources for such an act,” as

provided by 28 U.S.C. § 1605A(a).

       13.        Syria is now and has been designated as a state sponsor of terrorism since

December 29, 1979, pursuant to Section 6(j) of the Export Administration Act of 1979 (50

U.S.C. App. § 2405(j)), and section 620A of the Foreign Assistance Act of 1961 (22 U.S.C. §

2371). Syria was therefore “designated as a state sponsor of terrorism at the time” of the 2016

act of extrajudicial killing on which Plaintiffs’ claims are based, and “remains so designated” at

the time of the filing of those claims, as required in 28 U.S.C. § 1605A(a)(2).

       14.        The Honorable Judge Richard J. Leon of this district already has held Syria liable

for the Nice Attack based on its role in causing the attack, and the resulting deaths and injuries,

by providing material support and resources to the Islamic State of Iraq and al-Sham (“ISIS”),




                                                  5
           Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 6 of 20




the organization which carried out the Nice Attack. See Fields et al. v. Syrian Arab Republic,

No. 18-cv-01437, Mem. Op. 17-20, ECF No. 20 (D.D.C. Sept. 29, 2021).

                                              III.

                                FACTUAL ALLEGATIONS

The July 14, 2016 Cargo Truck Attack in Nice, France

         15.   In July 2016, Plaintiffs Maegan Brooke Copeland and Austin Layne Copeland,

along with their brother Brodie Copeland, their father Sean Copeland, and their step-mother Kim

Copeland, were enjoying a family vacation in Europe. Sean Copeland, who was then 51 years

old, was a loving and devoted father who prided himself on being a “dance dad,” a “football

dad,” and a “baseball dad.” Brodie Copeland, who was then 11 years old, was a smart and fun-

loving child who loved baseball and acting.        Bringing his family to Europe for a “dream

vacation” had been a long-time goal for Sean Copeland, and the trip had been planned so that the

family could celebrate the July birthdays of Austin Layne Copeland and Kim Copeland during

the trip. On the evening of July 14, 2016, the Copeland family was enjoying the Bastille Day

fireworks from the Promenade des Anglais, a boulevard and walkway along the Mediterranean

coast.

         16.   In the summer of 2016, Nicolas Vittorio Leslie was in Nice, France, for a summer

entrepreneurship program through the University of California, Berkeley, where he was working

on a product that helped to measure the lactic acid in athletes’ muscles. At that time, Nicolas

was a 20-year-old junior at the UC Berkeley. Nicolas was a bright student who was on track to

complete a double major. He had been accepted into UC Berkeley’s prestigious Haas School of

Business, and, in addition to the business degree, was completing the requirements for a degree

in environmental science. He loved kite surfing with his father, Conrado Ignacio Leslie, and was




                                               6
          Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 7 of 20




determined to make a future for himself in business. On the evening of July 14, 2016, Nicolas

Vittorio Leslie was celebrating Bastille Day with some of his classmates along the Promenade

des Anglais.

       17.       Plaintiffs Maegan Brooke Copeland and Austin Layne Copeland and Nicolas

Vittorio Leslie were therefore present during the Nice Attack on the evening of July 14, 2016,

which began just after the end of the Bastille Day fireworks when ISIS operative Mohamed

Lahouaiej-Bouhlel drove a truck into the crowded Promenade des Anglais.

       18.       Syria previously has been held liable for the Nice Attack. See Fields, Mem. Op.

at 17-20. Judge Leon’s determination of liability in that case was based on his review of the

expert report of Dr. Daveed Gartenstein-Ross, which analyzed evidence including the public

statements by ISIS claiming responsibility for the Nice Attack, and described the findings of a

French investigation into the Nice Attack. Id. at 4-5. Judge Leon also relied on the decisions of

numerous courts in this district holding that Syria provided material support for ISIS and its

predecessor organizations. See id. at 7 (citing Sotloff v. Syrian Arab Republic, No. 18-cv-1625,

2021 WL 965882, at *1 (D.D.C. Mar. 15, 2021) (Kelly, J.); Foley v. Syrian Arab Republic, 249

F. Supp. 3d 186, 192-95 (D.D.C. 2017) (Kollar-Kotelly, J.); Thuneibat v. Syrian Arab Republic,

167 F. Supp. 3d 22, 36-37 (D.D.C. 2016) (Howell, J.); Gates v. Syrian Arab Republic, 580 F.

Supp. 2d 53, 67-69 (D.D.C. 2008) (Collyer, J.)). Judge Leon made the following findings of fact

with regard to Syria’s responsibility for the Nice Attack:

                Lahouaiej-Bouhlel drove the truck nearly a mile down the Promenade des

                 Anglais, “plowing into pedestrians on the crowded street.” Fields, Mem. Op. at 4.

                Lahouaiej-Bouhlel then "got out of the truck and began shooting at police officers

                 before the police shot and killed him. Id.




                                                  7
          Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 8 of 20




                86 people were killed as a result of the attack. Id.

                “Two days after the attack,” in ISIS-run media outlets (the ‘Amaq News Agency

                 and radio station al-Bayan), “ISIS claimed responsibility for the Nice Attack.” Id.

                 at 4-5.

                A French investigation showed that Lahouaiej-Bouhlel consumed ISIS

                 propaganda and an ISIS recruiter named Rachid Kassim helped Lahouaiej-

                 Bouhlel plan the attack virtually. Id. at 5.

                “Syria’s relationship with ISIS is longstanding. ISIS is the most recent iteration

                 of the Zarqawi organization.” Id. at 7. The Zarqawi organization was a militant

                 group founded in the early 1990s and which has at various times operated as

                 and/or been affiliated with Al Qaeda in Iraq (“AQI”), the Islamic State of Iraq

                 (“ISI”), and finally ISIS. Id. at 7-9. Syria’s support included “actively recruiting,

                 training, funding, and sheltering militants in Syria,” id. at 8, 17, unconditionally

                 releasing militants from prison, id. at 8-9, “allowing safe passage of jihadists from

                 Syria into Iraq,” id. at 17-18, providing financial support by purchasing stolen oil

                 from ISIS, id. at 9, 18, permitting ISIS to use Syria’s financial network, id. at 9,

                 18, and engaging in military cooperation with ISIS, id. at 9-10, 18.

       19.       Accordingly, Judge Leon held that ISIS committed an act of extrajudicial killing

because “ISIS operatives were directly involved in planning, coordinating, and executing the

[Nice Attack], id. at 16, which was a deliberate act of killing not authorized by a previous

judgment pronounced by a regularly constituted court, id., and further held that “Syria’s material

support of ISIS caused the extrajudicial killing[],” because “Syria’s material support of ISIS was

a ‘substantial factor in the sequence of events’” and the Nice Attack “was ‘reasonably



                                                   8
             Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 9 of 20




foreseeable or anticipated as a natur[al] consequence’” of Syria’s support, id. at 18 (citing Owens

v. Republic of Sudan, 864 F.3d 751, 794 (D.C. Cir. 2017)).

        20.     Among those killed in the Nice Attack were Sean Copeland, Brodie Copeland,

and Nicolas Vittorio Leslie. Maegan Brooke Copeland and Austin Layne Copeland survived the

attack because Sean heroically warned his family as Lahouaiej-Bouhlel’s truck careened towards

them.

        21.     Maegan Brooke Copeland and Austin Layne Copeland suffered and will continue

to suffer severe emotional and psychological harm as a result of the terrorist attack that injured

them and killed their father and younger brother.

        22.     Jerri Faye Eaves suffered and will continue to suffer severe emotional and

psychological harm as a result of the terrorist attack that injured her son, Austin Layne Copeland,

and daughter, Maegan Brooke Copeland.

        23.     The Estate of Nicolas Vittorio Leslie and the heirs of Nicolas Vittorio Leslie

suffered economic losses as a result of Nicolas being fatally injured in the Nice Attack.

        24.     Conrado Ignacio Leslie and Paola Anna Maria Leslie suffered and will continue

to suffer severe emotional and psychological harm as a result of the terrorist attack that killed

their son.


                                             COUNT I

                    28 U.S.C. § 1605A(c), PRIVATE RIGHT OF ACTION

        25.     The foregoing paragraphs are incorporated herein as if fully set forth herein.

        26.     On July 14, 2016, Syria and/or its agents, through the provision of material

support and/or resources to the perpetrators of the Nice Attack as described herein, willfully,




                                                 9
           Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 10 of 20




violently, and forcefully caused the terrorist attack against innocent civilians, including

Plaintiffs, in Nice, France.

          27.   Syria and/or its agents were acting within the scope of their office, employment or

agency in committing the acts alleged herein, including planning and carrying out the Nice

Attack.

          28.   The Syrian Arab Republic was and is a state sponsor of terrorism as described in

28 U.S.C. § 1605A(a)(2)(A)(i).

          29.   Pursuant to 28 U.S.C. § 1605A(c), Plaintiffs, each of whom is a U.S. national or

the estate of a deceased U.S. national, may assert a cause of action against Syria for personal

injury or death that was caused by an act of extrajudicial killing or the provision of material

support or resources for such an act.

          30.   As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered personal injuries, including physical harm, mental anguish, and

emotional pain and suffering, in connection with her presence at the Nice Attack. Plaintiff

Maegan Brooke Copeland brings claims under 28 U.S.C. § 1605A(c) for those personal injuries

and seeks compensatory damages, including pain and suffering and loss of solatium.

          31.   As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the injuries to her brother Austin Layne Copeland as a result of the

Nice Attack. Plaintiff Maegan Brooke Copeland brings claims under 28 U.S.C. § 1605A(c) for




                                                10
            Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 11 of 20




those personal injuries and seeks compensatory damages, including pain and suffering and loss

of solatium.

       32.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the death of her brother Brodie Copeland as a result of the Nice

Attack. Plaintiff Maegan Brooke Copeland brings claims under 28 U.S.C. § 1605A(c) for those

personal injuries and seeks compensatory damages, including pain and suffering and loss of

solatium.

       33.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the death of her father Sean Copeland as a result of the Nice

Attack. Plaintiff Maegan Brooke Copeland brings claims under 28 U.S.C. § 1605A(c) for those

personal injuries and seeks compensatory damages, including pain and suffering and loss of

solatium.

       34.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered personal injuries, including physical harm, mental anguish, and

emotional pain and suffering, in connection with his presence at the Nice Attack. Plaintiff

Austin Layne Copeland brings claims under 28 U.S.C. § 1605A(c) for those personal injuries

and seeks compensatory damages, including pain and suffering and loss of solatium.




                                                11
            Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 12 of 20




       35.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the injuries to his sister Maegan Brooke Copeland as a result of the

Nice Attack. Plaintiff Austin Layne Copeland brings claims under 28 U.S.C. § 1605A(c) for

those personal injuries and seeks compensatory damages, including pain and suffering and loss

of solatium.

       36.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the death of his brother Brodie Copeland as a result of the Nice

Attack. Plaintiff Austin Layne Copeland brings claims under 28 U.S.C. § 1605A(c) for those

personal injuries and seeks compensatory damages, including pain and suffering and loss of

solatium.

       37.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the death of his father Sean Copeland as a result of the Nice Attack.

Plaintiff Austin Layne Copeland brings claims under 28 U.S.C. § 1605A(c) for those personal

injuries and seeks compensatory damages, including pain and suffering and loss of solatium.

       38.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Jerri

Faye Eaves suffered personal injuries, including mental anguish and emotional pain and




                                                12
            Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 13 of 20




suffering, in connection with the injuries to her daughter Maegan Brooke Copeland as a result of

the Nice Attack. Plaintiff Jerri Faye Eaves brings claims under 28 U.S.C. § 1605A(c) for those

personal injuries and seeks compensatory damages, including pain and suffering and loss of

solatium.

       39.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Jerri

Faye Eaves suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the injuries to her son Austin Layne Copeland as a result of the

Nice Attack. Plaintiff Jerri Faye Eaves brings claims under 28 U.S.C. § 1605A(c) for those

personal injuries and seeks compensatory damages, including pain and suffering and loss of

solatium.

       40.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Nicolas Vittorio

Leslie was wrongfully killed. The Estate of Nicolas Vittorio Leslie, through Conrado Ignacio

Leslie as Legal Representative, brings claims under 28 U.S.C. § 1605A(c) for that wrongful

death and seeks compensatory damages, including economic damages.

       41.      As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff

Conrado Ignacio Leslie suffered personal injuries, including mental anguish and emotional pain

and suffering, in connection with the wrongful death of his son Nicolas Vittorio Leslie as a result

of the Nice Attack. Plaintiff Conrado Ignacio Leslie brings claims under 28 U.S.C. § 1605A(c)

for those personal injuries and seeks compensatory damages, including pain and suffering and

loss of solatium.




                                                13
         Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 14 of 20




       42.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Paola

Anna Maria Leslie suffered personal injuries, including mental anguish and emotional pain and

suffering, in connection with the wrongful death of her son Nicolas Vittorio Leslie as a result of

the Nice Attack. Plaintiff Paola Anna Maria Leslie brings claims under 28 U.S.C. § 1605A(c)

for those personal injuries and seeks compensatory damages, including pain and suffering and

loss of solatium.

       WHEREFORE, all Plaintiffs demand that judgment be entered against Defendant the

Syrian Arab Republic, consistent with prior determinations of awards and judgments on behalf of

similarly situated plaintiffs for their compensatory damages, in the amount of no less than ONE

HUNDRED AND FIFTY MILLION DOLLARS ($150,000,000.00).

                                             COUNT II

                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       43.     The foregoing paragraphs are incorporated herein as if fully set forth herein.

       44.     On July 14, 2016, Syria and/or its agents, through the provision of material

support and/or resources to the perpetrators of the Nice Attack as described herein, willfully,

violently, and forcefully caused the terrorist attack against innocent civilians, including

Plaintiffs, in Nice, France.

       45.     The Nice Attack, and the provision of material support and/or resources to others

to carry out the Nice Attack, constituted extreme and outrageous conduct on the part of Syria

and/or its agents, and was intended to cause and did cause physical and emotional harm and

distress to the injured and killed victims and their immediate family members.




                                                14
         Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 15 of 20




       46.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered severe emotional distress in connection with her presence at the Nice

Attack. Plaintiff Maegan Brooke Copeland brings claims for intentional infliction of emotional

distress and seeks compensatory damages.

       47.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered severe emotional distress in connection with the injuries to her brother

Austin Layne Copeland as a result of the Nice Attack. Plaintiff Maegan Brooke Copeland brings

claims for intentional infliction of emotional distress and seeks compensatory damages.

       48.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered severe emotional distress in connection with the death of her brother

Brodie Copeland as a result of the Nice Attack. Plaintiff Maegan Brooke Copeland brings

claims for intentional infliction of emotional distress and seeks compensatory damages.

       49.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Maegan

Brooke Copeland suffered severe emotional distress in connection with the death of her father

Sean Copeland as a result of the Nice Attack. Plaintiff Maegan Brooke Copeland brings claims

for intentional infliction of emotional distress and seeks compensatory damages.

       50.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered severe emotional distress in connection with his presence at the Nice




                                                15
         Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 16 of 20




Attack. Plaintiff Austin Layne Copeland brings claims for intentional infliction of emotional

distress and seeks compensatory damages.

       51.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered severe emotional distress in connection with the injuries to his sister

Maegan Brooke Copeland as a result of the Nice Attack. Plaintiff Austin Layne Copeland brings

claims for intentional infliction of emotional distress and seeks compensatory damages.

       52.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered severe emotional distress in connection with the death of his brother

Brodie Copeland as a result of the Nice Attack. Plaintiff Austin Layne Copeland brings claims

for intentional infliction of emotional distress and seeks compensatory damages.

       53.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Austin

Layne Copeland suffered severe emotional distress in connection with the death of his father

Sean Copeland as a result of the Nice Attack. Plaintiff Austin Layne Copeland brings claims for

intentional infliction of emotional distress and seeks compensatory damages.

       54.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Jerri

Faye Eaves suffered severe emotional distress in connection with the injuries to her daughter

Maegan Brooke Copeland as a result of the Nice Attack. Plaintiff Jerri Faye Eaves brings claims

for intentional infliction of emotional distress and seeks compensatory damages.




                                                16
         Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 17 of 20




       55.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Jerri

Faye Eaves suffered severe emotional distress in connection with the injuries to her son Austin

Layne Copeland as a result of the Nice Attack. Plaintiff Jerri Faye Eaves brings claims for

intentional infliction of emotional distress and seeks compensatory damages.

       56.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff

Conrado Ignacio Leslie suffered severe emotional distress in connection with the wrongful death

of his son Nicolas Vittorio Leslie as a result of the Nice Attack. Plaintiff Conrado Ignacio Leslie

brings claims for intentional infliction of emotional distress and seeks compensatory damages.

       57.     As a direct and proximate result of the willful, wrongful, intentional and reckless

acts of Syria and/or its agents in providing material support for the Nice Attack, Plaintiff Paola

Anna Maria Leslie suffered severe emotional distress in connection with the wrongful death of

her son Nicolas Vittorio Leslie as a result of the Nice Attack. Plaintiff Paola Anna Maria Leslie

brings claims for intentional infliction of emotional distress and seeks compensatory damages.

       WHEREFORE, Plaintiffs Maegan Brooke Copeland, Austin Layne Copeland, Jerri Faye

Eaves, Conrado Ignacio Leslie, and Paola Anna Maria Leslie demand that judgment be entered

against the Defendant the Syrian Arab Republic, consistent with prior determinations of awards

and judgments on behalf of similarly situated plaintiffs for their compensatory damages, in the

amount of no less than ONE HUNDRED MILLION DOLLARS ($100,000,000.00).

                                           COUNT III

                                     WRONGFUL DEATH

       58.     The foregoing paragraphs are incorporated herein as if fully set forth herein.




                                                17
          Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 18 of 20




        59.     On July 14, 2016, Syria and/or its agents, through the provision of material

support or resources to the perpetrators of the Nice Attack as described herein, willfully,

violently, and forcefully caused the terrorist attack against innocent civilians, including

Plaintiffs, in Nice, France.

        60.     As a direct and proximate result of the willful, wrongful, intentional and reckless

act of Syria and/or its agents, Nicolas Vittorio Leslie suffered fatal injury and died.

        61.     Nicolas Vittorio Leslie died intestate and without any surviving spouse, domestic

partner, children, or issue.

        62.     Conrado Ignacio Leslie, as the father of Nicolas Vittorio Leslie, brings claims for

the wrongful death of Nicolas Vittorio Leslie and seeks compensatory damages, including

economic and non-economic damages.

        WHEREFORE, Plaintiff Conrado Ignacio Leslie demands judgment be entered against

Defendant the Syrian Arab Republic, consistent with prior determinations of awards and

judgments on behalf of similarly situated plaintiffs for their compensatory damages, in the

amount of no less than FIFTY MILLION DOLLARS ($50,000,000.00).

                                            COUNT IV

                                     PUNITIVE DAMAGES

        63.     The foregoing paragraphs are incorporated herein as if fully set forth herein.

        64.     On July 14, 2016, Syria and/or its agents, through the provision of material

support or resources to the perpetrators of the Nice Attack as described herein, willfully,

violently, and forcefully caused the terrorist attack against innocent civilians, including

Plaintiffs, in Nice, France.




                                                 18
         Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 19 of 20




       65.        Pursuant to 28 U.S.C. § 1605A(c), Plaintiffs, each of whom is a U.S. national or

the estate of a deceased U.S. national, are entitled to punitive damages from Syria for the acts

alleged herein.

       WHEREFORE, all Plaintiffs demand that judgment be entered against Defendant the

Syrian Arab Republic, consistent with prior determinations of awards and judgments on behalf of

similarly situated plaintiffs for their punitive damages, in the amount of no less than ONE

BILLION DOLLARS ($1,000,000,000.00).

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that the Court

             A. Grant Plaintiffs judgment in favor against Defendant on Counts I through IV; and

             B. Award Plaintiffs:

                       1.     Compensatory damages against Defendant the Syrian Arab Republic

                              in the amount of no less than THREE HUNDRED MILLION

                              DOLLARS ($300,000,000.00);

                       2.     Punitive damages against Defendant the Syrian Arab Republic in the

                              amount     of   no     less   than   ONE      BILLION   DOLLARS

                              ($1,000,000,000.00);

                       3.     Pre-judgment interest;

                       4.     Reasonable costs and expenses;

                       5.     Reasonable attorneys’ fees; and

                       6.     Such other and further relief which the Court may determine to be

                              just and equitable under the circumstances.




                                                   19
        Case 1:21-cv-03381-RJL Document 2 Filed 12/30/21 Page 20 of 20




Dated: December 29, 2021                   Respectfully submitted,


                                           /s/ Aryeh S. Portnoy
                                           Aryeh S. Portnoy, D.C. Bar No. 464507
                                           John L. Murino, D.C. Bar No. 484818
                                           Emily M. Alban, D.C. Bar No. 977035

                                           CROWELL & MORING LLP
                                           1001 Pennsylvania Ave., N.W.
                                           Washington, D.C. 20004
                                           (202) 624-2500

                                           Attorneys for Plaintiffs




                                      20
